       Case 2:23-mc-51499-MFL ECF No. 1-3, PageID.37 Filed 10/13/23 Page 1 of 9




                                      United States v. Raheja
             United States District Court for the Northern District of Ohio, Eastern Division
                              July 20, 2022, Decided; July 20, 2022, Filed
                                       CASE NO. 1:19-cr-559-4


Reporter
2022 U.S. Dist. LEXIS 129060 *; 2022 WL 2870902
UNITED STATES OF AMERICA, PLAINTIFF,
                                                      MEMORANDUM OPINION AND ORDER
vs. DEEPAK RAHEJA, et al, DEFENDANTS.
                                                      The indictment in this matter charges defendants
Prior History: United States v. Raheja, 2020 U.S.
                                                      Deepak Raheja ("Dr. Raheja" or "Raheja"),
Dist. LEXIS 244437, 2020 WL 7769725 (N.D.
                                                      Gregory Hayslette ("Hayslette"), Frank Mazzucco
Ohio, Dec. 30, 2020)
                                                      ("Mazzucco"), and Bhupinder Sawhny ("Dr.
Counsel: [*1] For Deepak Raheja, Defendant: Eric      Sawhny" or "Sawhny") with conspiracy to commit
C. Nemecek, Friedman & Nemecek, Ian N.                healthcare fraud and related crimes involving the
Friedman, Mara Midori Hirz, Cleveland, OH.            promotion and distribution of the drug
                                                      Nuedexta. [*2] Nuedexta is a drug manufactured
For Gregory Hayslette, Defendant: Colin R.            by Avinar Pharmaceuticals, Inc. ("Avinar") to treat
Jennings, LEAD ATTORNEY, Squire Patton                Pseudo Bulbar Affect ("PBA"). (Doc. No. 1
Boggs (US) - Cleveland, Cleveland, OH.                (Indictment).)
For Frank Mazzucco, Defendant: Brian M. Pierce,
                                                      Now before the Court are the following fully
Gorman Malarcik Pierce, Akron, OH; Donald J.
                                                      briefed motions:
Malarcik, Jr., Malarcik, Pierce, Munyer & Will,
Akron, OH; Heather J. Nelson, Tinos Diamantatos,          & Dr. Sawhny's motion for issuance of a
PRO HAC VICE, Morgan, Lewis & Bockius -                   subpoena pursuant to Fed. R. Crim. P. 17(c) to
Chicago, Chicago, IL.                                     Forest Pharmaceuticals, Inc., Edward D. Jones
For Bhupinder Sawhny, Defendant: John F.                  & Co., L.P., and Financial Industry Regulatory
McCaffrey, Rachel N. Byrnes, Tucker Ellis -               Authority, Inc. (Doc. No. 192 (Motion); Doc.
Cleveland, Cleveland, OH.                                 No. 194 (Opposition); and Doc. No. 195
                                                          (Reply)); and
For United States of America, Plaintiff: Megan R.
Miller, Michael L. Collyer, James L. Morford,             & Dr. Sawhny's motion for issuance of a Rule
LEAD ATTORNEYS, Office of the U.S. Attorney               17(c) subpoena to Dr. Michael J. Schneck.
- Cleveland, Northern District of Ohio, Cleveland,        (Doc. No. 196 (Motion); Doc. No. 197
OH.                                                       (Opposition); Doc. No. 198 (Reply).).
Judges: HONORABLE SARA LIOI, UNITED
STATES DISTRICT JUDGE.                                I. BACKGROUND
Opinion by: SARA LIOI                                 The Court has addressed the underlying facts
                                                      surrounding this criminal matter in numerous
Opinion
         Case 2:23-mc-51499-MFL ECF No. 1-3, PageID.38 Filed 10/13/23 Page 2 of 9
                                                                                                            Page 2 of 9
                                   United States v. Raheja, 2022 U.S. Dist. LEXIS 129060

opinions and orders; familiarity with these prior
rulings is presumed. (See, e.g., Doc. No. 135.) In               II. DISCUSSION
order to provide context for the present motions, it
sufficient to note that the indictment alleges that
Mazzucco and Hayslette—while employees of                        A. Governing Law
Avinar—caused Drs. Raheja and Sawhny to receive
                                                                 The Court has commented on the law governing
unlawful kickbacks as inducements and in
                                                                 Rule 17(c) and a criminal defendant's use of the
exchange for increasing Nuedexta prescriptions.
                                                                 Court's subpoena power on numerous occasions,
(Doc. No. 1 at 7,1 ¶ 24.)
                                                                 including in several prior decisions in this action.
The government's document and data production in                 (See, e.g., Doc. No. 177.) As this Court previously
this case began shortly after the [*3] indictment                observed, Rule 17(c) permits subpoenas duces
was filed, and it has been both voluminous and the               tecum returnable prior to trial under particularized
subject of numerous status conference and defense                circumstances. United States v. Nixon, 418 U.S.
motions for continuances. Between November 4,                    683, 698-99, 94 S. Ct. 3090, 41 L. Ed. 2d 1039
2019 and February 12, 2020, the government                       (1974). In Nixon, the Supreme Court required
produced over 350,000 bates-stamped pages of                     parties moving for a pretrial subpoena duces tecum
documents and hard drives. Additionally, on                      in a criminal matter to show: "(1) that the
December 30, 2019, the government produced a                     documents are evidentiary and relevant; (2) that
complete database containing over six million                    they are not otherwise procurable reasonably in
pages of documents. Referred to as the "load file,"              advance of trial by exercise of due diligence; (3)
the database containing these documents was word                 that the parties cannot properly prepare for trial
searchable. At the Court's direction, the                        without such production and inspection in advance
government has provided defendants with a                        of trial and that the failure to obtain such inspection
"roadmap" to assist in navigating the discovery,                 may tend unreasonably to delay the trial; and (4)
which included summaries and a chart that                        that the application is made in good faith and is not
described the content of the production.                         intended as a general 'fishing expedition.'" Id. at
                                                                 699-700 (footnote omitted). The Supreme Court
On February 16, 2022, Hayslette filed a notice of                further required a showing of relevancy,
intent to enter a guilty plea. (Doc. No. 183.) On                admissibility, and specificity before issuance [*5]
March 2, 2022, Hayslette pled guilty, pursuant to                of a pretrial subpoena duces tecum. Id. at 700. The
the terms of a plea agreement, to count one of the               Supreme Court in Nixon stressed two fundamental
indictment, which charges a conspiracy to solicit,               characteristics of Rule 17(c) subpoenas: "(1) [they
receive, offer and pay healthcare kickbacks, in                  are] not intended to provide a means of discovery
violation of 18 U.S.C. § 371. (Minutes of                        for criminal cases; (2) [their] chief innovation was
Proceedings, 3/2/2022; Doc. No. 187 (Plea                        to expedite trial by providing a time and a place
Agreement).) The jury trial for the remaining                    before trial for the inspection of subpoenaed
defendants, including Sawhny, is scheduled to                    materials." Id. at 698-99 (internal citations
begin on October 17, 2022. (Doc. No. 188.) [*4] It               omitted). Having laid down the standard, the
is Dr. Sawhny's belief that Hayslette will be                    Supreme Court also noted that pretrial issuance of
testifying against him as a cooperating witness for              subpoenas duces tecum is "necessarily [] committed
the government at trial.                                         to the sound discretion of the trial court." Id. at 702.
                                                                 The decision to enforce or quash a subpoena will be
                                                                 disturbed on appeal only when the action was
1
 All page number references herein are to the consecutive page   clearly arbitrary or without support in the record.
numbers applied to each individual document by the Court's       United States v. Vassar, 346 F. App'x 17, 24 (6th
electronic filing system.
          Case 2:23-mc-51499-MFL ECF No. 1-3, PageID.39 Filed 10/13/23 Page 3 of 9
                                                                                                                 Page 3 of 9
                                       United States v. Raheja, 2022 U.S. Dist. LEXIS 129060

Cir. 2009) (citing United States v. Hughes, 895                         employed at Forest, as well as his alleged
F.2d 1135, 1145 (6th Cir. 1990)).                                       misconduct as a financial broker with Edward
                                                                        Jones. (Doc. No. 192 at 5-6.) From Forest, Sawhny
Additionally, Rule 17(c) subpoenas must meet                            seeks:
certain technical requirements. In United States v.
Llanez-Garcia, 735 F.3d 483, 500 (6th Cir. 2013),                          1. Documents relating, referring or pertaining
the Sixth Circuit instructed district courts to                            to Mr. Hayslette's employment at Forest
interpret for themselves the contours of Rule 17(c)                        Pharmaceuticals, Inc., including, but not
and determine, on a court by court basis, how they                         limited to, documents and communications
will administer and/or oversee the exercise of the                         reflecting     Mr.      Hayslette's     training,
Court's subpoena power. Following the decision in                          compensation, expenses, [*7]         promotion,
Llanez-Garcia, this Court addressed the mechanics                          transfer, discipline, corrective action, and/or
of Rule 17(c) on numerous occasions. For example,                          discharge.
in United States v. Jeremy Mack, Case No. 1:13-cr-                         2. Documents relating, referring or pertaining
278, Doc. No. 26 (Order), the Court                                        to Mr. Hayslette's involvement in the conduct
determined [*6] that the language of the rule                              as alleged in the Kroening Lawsuit, or any
supported the conclusion that Rule 17(c) requires                          conduct similar to that alleged in the Kroening
the requested documents to be produced in court in                         Lawsuit and/or Department of Justice media
connection with a formal hearing, and, therefore, a                        release dated Dec. 15, 2016 (attached hereto as
subpoena that provided for document production                             Subpoena Attachment 1), while employed with
away from the court—such as the defense                                    Forest Pharmaceutical, Inc.
attorney's office—and/or at a date and time far                         (Doc. No. 192-1 (Forest Subpoena) at 6.)
removed from any formal hearing in the case
abused the court's subpoena powers. (Id. at 12.)                        Sawhny wishes to propound similar requests upon
                                                                        Edward Jones. Specifically, Sawhny's proposed
                                                                        subpoena to Edward Jones seeks:
B. Motion for Rule 17(c) Subpoena Relating to                               1. Documents relating, referring or pertaining
Co-Defendant Hayslette                                                      to Mr. Hayslette's employment at Edward D.
                                                                            Jones & Co., L.P., including, but not limited to,
In his first motion,2 Dr. Sawhny requests leave to                          documents and communications reflecting Mr.
issue subpoenas to three private entities—Forest                            Hayslette's training, compensation, expenses,
Pharmaceuticals, Inc. ("Forest"), Edward D. Jones                           promotion, transfer, discipline, corrective
& Co., L.P. ("Edward Jones"), and Financial                                 actions, and/or discharge.
Industry Regulatory Authority, Inc. ("FINRA")—
seeking documents and other information he                                 2. Documents relating, referring or pertaining
believes will evidence Hayslette's alleged                                 to Mr. Hayslette's conduct as described in the
involvement in a kickback scheme while he was                              NYSE [New York Stock Exchange] decision,
                                                                           or any conduct similar to that alleged or found
                                                                           by the New York Stock Exchange during its
2
  It should be noted that the Court has approved prior subpoena            investigation of Mr. Hayslette while he was
requests for Dr. Sawhny. On March 26, 2020, the Court approved             employed with Edward D. Jones & Co.,
Dr. Sawhny's request to issue sixteen (16) subpoenas to various
                                                                           L.P. [*8]
pharmacies. (Non-document Order, 3/26/2020; see Doc. No. 74
(Motion).) While these prior subpoenas suffered from certain            (Doc. No. 192-2 (Edward Jones Subpoena) at 7.)
technical deficiencies, the Court permitted Dr. Sawhny to utilize the
Court's subpoena power in that instance because this prior motion       FINRA is a private corporation that acts as a self-
was not opposed by the government and, unlike the subpoenas at          regulatory body investigating and patrolling
issue in the present motions, those subpoenas otherwise met Nixon's     member brokerage firms and exchange markets.
substantive requirements.
            Case 2:23-mc-51499-MFL ECF No. 1-3, PageID.40 Filed 10/13/23 Page 4 of 9
                                                                                                                         Page 4 of 9
                                      United States v. Raheja, 2022 U.S. Dist. LEXIS 129060

From FINRA, Sawhny seeks:                                          Court finds that Dr. Sawhny has failed to
   1. Documents used to create the BrokerCheck                     demonstrate that the requested documents are
   report for Mr. Hayslette, including, but not                    relevant or admissible. According to Dr. Sawhny,
   limited to, documents and communications                        "there is a 'sufficient likelihood' that the documents
   related to Mr. Hayslette's employment history,                  sought by the subpoenas contain information
   professional qualifications, disciplinary actions,              relevant to Dr. Sawhny's charge and defense[,]" and
   criminal convictions, civil judgments and                       are, therefore, relevant and admissible. (Doc. No.
   arbitration awards.                                             192 at 9.) Specifically, he argues that the [*10]
   2. Documents relating, referring or pertaining                  requested documents "may very well reveal the
   to Mr. Hayslette's conduct as described in the                  details and full extent of Hayslette's forgeries and
   NYSE decision, or any conduct similar to that                   misappropriation attempts." (Id.)
   alleged or found by the New York Stock
   Exchange during its investigation of Mr.           Relevant evidence must have some capacity to
   Hayslette while he was employed with Edward        make the government's charges more or less
   D. Jones & Co., L.P.                               probable. Fed. R. Evid. 401. Whether or not
(Doc. No. 192-3 (FINRA Subpoena) at 7.)               Hayslette engaged in misconduct prior to any of the
                                                      events charged in the present indictment has no
In support of the subpoena directed to Forest, Dr. material bearing on whether Dr. Sawhny engaged in
Sawhny cites a prior lawsuit against Forest fraudulent behavior in this case. Further, to the
"alleging violations of the Anti-Kickback Statute extent that Dr. Sawhny intends to use evidence of
by the company and its representatives[.]" (Doc. Hayslette's alleged prior wrongdoing to impeach
No. 192 at 9.) Given the fact that "Hayslette was him should he testify at trial, it is well settled that
employed [by Forest] as a representative during the the "need for evidence to impeach witnesses is
time period of the alleged scheme[,]" and further insufficient to require advance production under
that "the allegations contained [*9] in the lawsuit's Rule 17(c)." United States v. Louis Trauth Dairy,
second amended complaint state that all Forest Inc., 162 F.R.D. 297, 300 (S.D. Ohio 1995) (Rule
representatives participated in the scheme[,]" Dr. 17(c) subpoena power not available to compel
Sawhny insists that he has a good faith basis for production of documents relating to antitrust
believing that the subpoena "will produce litigation to show competitor engaged in prior
information related to the particular nature and misconduct) (citing Nixon, 418 U.S. 701); see
extent of Hayslette's involvement in the scheme." Vassar, 346 F. App'x at 24 (subpoenas directed to
(Id.) The next two subpoenas are directed to Dr. government agencies concerning the criminal
Sawhny's belief that Hayslette was also involved in activities of potential government witnesses not a
misconduct while employed as a broker for Edward
Jones. In support, Dr. Sawhny cites a FINRA and information be produced at an unspecified date and time at
BrokerCheck Report and an NYSE Hearing Panel defense counsel's Cleveland, Ohio office. (See Doc. No. 192-1 at 2;
Decision that he believes demonstrates that Doc. No. 192-2 at 3; Doc. No. 192-3 at 3.) In his reply brief, Dr.
Hayslette engaged in forgery and misappropriation Sawhny concedes that the proposed subpoenas do not comply with
                                                      the Court's requirement, taken from the plain language of the rule,
at Edward Jones. (Id.)                                that all Rule 17(c) subpoenas demand production of the requested
1. Relevancy                                                       materials at the courthouse and at a time that "bear[s] some relation
                                                                   to a scheduled hearing or the trial." United States v. Farmer, No.
                                                                   1:14-cr-362, 2015 U.S. Dist. LEXIS 41738, 2015 WL 1471965, at *3
The subpoenas requested in Dr. Sawhny's first
                                                                   (N.D. Ohio Mar. 31, 2015); (see, e.g., Doc. No. 177 at 6; Doc. No.
motion fail to clear the relevancy, admissibility,                 135 at 8-9.) He represents that, should the Court permit him to serve
and specificity hurdles.3 As an initial matter, the                subpoenas upon Forest, Edward Jones, and FINRA, he will revise
                                                                   "by listing the courthouse as the place for inspection, and having the
                                                                   time for production bear relation to a scheduled hearing." (Doc. No.
3
    Each proposed subpoena commands that the requested documents   195 at 2 n.1.)
          Case 2:23-mc-51499-MFL ECF No. 1-3, PageID.41 Filed 10/13/23 Page 5 of 9
                                                                                                                              Page 5 of 9
                                        United States v. Raheja, 2022 U.S. Dist. LEXIS 129060

proper subject of Rule 17(c) because they sought                          admissible to prove that on a particular occasion the
general impeachment evidence) (collecting                                 person acted [*12] in accordance with the
authority); Hughes, 895 F.2d at 1145-46 (holding                          character or trait.").
that district court properly quashed Rule 17(c)                           2. Admissibility
subpoena seeking documents to impeach
government [*11] witness). The fact that Dr.                              Putting to one side the question of whether prior
Sawhny waited until Hayslette decided to change                           conduct unrelated to the offenses charged in the
his plea in this case, making him a likely                                present indictment has relevance in this case, the
government witness, reinforces the Court's                                Court finds that Dr. Sawhny has failed to identify
conclusion that this evidence is merely sought for                        any rule of evidence that would allow for the
purposes of impeachment. And, even if Rule 17(c)                          admission of such "other acts" evidence. Cf. Fed. R.
were a proper vehicle for obtaining impeachment                           Evid. 404(b)(2) (evidence of any other crime,
evidence, Fed. R. Evid. 608(b) would forbid                               wrong, or acts are not admissible to show
defense counsel from impeaching a witness with                            conformance to a certain character trait but is
extrinsic evidence (other than a criminal                                 admissible to prove "motive, opportunity, intent,
conviction) regarding credibility.4See, e.g., United                      preparation, plan, knowledge, identity, absence of
States v. Frost, 914 F.2d 756, 767 (6th Cir. 1990).                       mistake, or lack of accident"). Dr. Sawhny made no
                                                                          meaningful effort to explain how the requested
Nevertheless, Dr. Sawhny insists that he is not
                                                                          documents and communications are admissible,
requesting impeachment material, but, instead, is
                                                                          and, given that it was Sawhny's burden to establish
seeking information central to his defense.
                                                                          such a basis, his motion fails for this additional
Specifically, he explains that "[e]vidence of
                                                                          reason. See United States v. Skeddle, 178 F.R.D.
Hayslette's forgeries and participation in the Forest
                                                                          167, 168 (N.D. Ohio 1996) ("The burden is on the
scheme show[s] that [Hayslette] has the ability to
                                                                          party issuing the subpoena to show the evidentiary
manipulate Dr. Sawhny and his staff, and the
                                                                          nature of the requested materials with appropriate
constitution to forge the prior authorizations on his
                                                                          specificity, including that the materials are relevant,
own and for his own benefit." (Doc. No. 195 at 3.)
                                                                          and admissible.") (citations, including internal
In essence, he hopes to show that, in this case,
                                                                          citations, omitted).
Hayslette "acted in accordance with" his character
for misconduct without Dr. Sawhny's knowledge or                          But even if there were some rule of evidence under
consent. Cf. Fed. R. Evid. 404(a) ("Evidence of a                         which this "other acts" evidence could find a
person's character or character trait is not                              foothold, it is unlikely [*13] that such evidence
                                                                          would survive a Rule 403 review.5 Under Rule 403,
                                                                          a district court has "wide latitude" to prevent
4
 It is clear Dr. Sawhny already has many of the documents and             "harassment, prejudice, confusion of the issues . . .
materials related to Hayslette's alleged prior misconduct. Attached to    or interrogation that is repetitive or only marginally
the present motion is FINRA's BrokerCheck Report (Doc. No. 192-           relevant[,]" among other things. Delaware v. Van
4); NYSE Hearing Panel Decision (Doc. No. 192-5); Department of
Justice's ("DOJ") Press Release from December 15, 2016 (Doc. No.
                                                                          Arsdall, 475 U.S. 673, 679, 106 S. Ct. 1431, 89 L.
192-6); and the Kroening Lawsuit's Second Amended Complaint.              Ed. 2d 674 (1986). Included within this extensive
(Doc. No. 192-7.) If the Court were to exercise its discretion and        latitude is the ability to avoid mini-trials on
permit Dr. Sawhny to inquiry about this unrelated prior misconduct
and Hayslette denied it, Dr. Sawhny would be "stuck" with that
answer and would not be able to introduce the documents he already
                                                                          5
has (let alone the documents he now seeks) as follow up. See United        Fed. R. Evid. 403 provides that the "court may exclude relevant
States v. Frost, 914 F.2d 756, 767 (6th Cir. 1990) ("The district court   evidence if its probative value is substantially outweighed by a
correctly pointed out that Rule 608(b) prohibits such extrinsic           danger of one or more of the following: unfair prejudice, confusing
evidence regarding credibility and that defense counsel are 'stuck        the issues, misleading the jury, undue delay, wasting time, or
with' the response given on cross-examination.")                          needlessly presenting cumulative evidence."
        Case 2:23-mc-51499-MFL ECF No. 1-3, PageID.42 Filed 10/13/23 Page 6 of 9
                                                                                                            Page 6 of 9
                                  United States v. Raheja, 2022 U.S. Dist. LEXIS 129060

extraneous or tangential matters. See, e.g., United           citation omitted). The breadth of the categories of
States v. Isshpunani, No. 2:14-cr-648, 2018 U.S.              documents       requested—"promotion,       transfer,
Dist. LEXIS 57625, 2018 WL 1662483, at *5 (C.D.               discipline, corrective actions, and/or discharge"—
Cal. Apr. 2, 2018) (motion for new trial in criminal          underscores that these requests [*15] are not
matter denied where district court limited the scope          narrowly tailored to obtain specific documents but
of cross-examination of a cooperating witness                 are designed to discover whether relevant
regarding whether witness participated in a murder-           documents exist.6See, e.g., United States v. Cole,
for-hire plot concerning an informant because                 No. 19-cr-869, 2021 U.S. Dist. LEXIS 45095, 2021
would have led to mini-trial on tangential issue).            WL 912425 (S.D.N.Y. Mar. 10, 2021) (Rule 17(c)
The Court is loath to permit the trial in this matter         subpoena seeking all employment records of
to devolve into a series of mini-trials into alleged          cooperating witness to show witness previously
prior unrelated (and uncharged) conduct by                    engaged in misconduct with a different employer
Hayslette and/or his former employers or co-                  failed to meet specificity requirement).
workers. While the Court ultimately makes no
pretrial ruling on the viability of such a defense—or  Indeed, Dr. Sawhny's suggestion that the
the admissibility of any evidence supporting such a    "subpoenaed information from FINRA and Edward
defense—at this time, it is sufficient for purposes of Jones may well reveal the details and full extent" of
ruling on Dr. Sawhny's Rule 17(c) motion to note       Hayslette's alleged prior misconduct demonstrates
that he has failed to satisfy his burden of showing    that he is embarking on a fishing expedition to see
relevance and admissibility. [*14]                     what he might turn up. (Doc. No. 192 at 9,
                                                       emphasis added.) See Wittig, 250 F.R.D. at 552
3. Specificity                                         ("The specificity requirement . . . prevents the
Turning to the specificity requirement, the Court moving party from using the Rule 17(c) as a license
agrees with the government that the first request of for what the Supreme Court . . . decried as a fishing
each proposed subpoena also violates Nixon's expedition"); United States v. Cooper, No. 08-
prohibition against overly broad fishing 20464, 2009 U.S. Dist. LEXIS 40751, 2009 WL
expeditions. Dr. Sawhny essentially seeks all 1384145, at *7 (E.D. Mich. May 14, 2009) (noting
documents relating to Hayslette's former that a subpoena request on a belief that more
employment with Forest and Edward Jones, as well documents may exists amounts to an impermissible
as all documents relating to FINRA's investigation discovery request). These subpoenas represent an
of Hayslette, without any effort to limit his requests impermissible use of the Court's subpoena power.
to the two specific allegations that Sawhny makes Because the subpoenas relating to Hayslette's
against Hayslette. The proponent of a subpoena alleged prior conduct fail to satisfy the substantive
does not meet the specificity requirement of Rule requirements of Rule 17(c), Dr. Sawhny's first
17(c) when the request seeks a general set of motion is DENIED.
documentation on the basis that a subset of the
documentation may contain pertinent information.
See United States v. Barnes, No. 04-cr-186, 2008
U.S. Dist. LEXIS 125298, 2008 WL 9359654, at *4 6 At first blush, the remaining requests appear more narrowly tailored
(S.D.N.Y. Apr. 2, 2008). The proponent must limit as they reference the two allegations Dr. Sawhny levels against
                                                       Hayslette regarding his prior work history. Yet even those requests
the request to "identifiable pieces of evidence." Id.; stray beyond these specific allegations as they also seek "any
see United States v. Wittig, 250 F.R.D. 548, 552 (D. conduct similar to" the conduct that forms the basis for his
Kan. 2008) ("[t]he specificity requirement ensures accusations against Hayslette. (See, e.g., Doc. No. 192-1 at 6,
that Rule 17(c) subpoenas are used only to secure Request No. 1.) It is clear that these subpoenas are being used to
                                                       uncover other, yet to be identified or discovered, "other acts"
for trial certain documents or sharply defined evidence against Hayslette. This is precisely the type of fishing
groups of documents") (quotation marks and expedition that is prohibited under Rule 17(c).
       Case 2:23-mc-51499-MFL ECF No. 1-3, PageID.43 Filed 10/13/23 Page 7 of 9
                                                                                                              Page 7 of 9
                              United States v. Raheja, 2022 U.S. Dist. LEXIS 129060

                                                         (Doc. No. 196-1 (Schneck Subpoena) at 5-6.)
C. Motion for Rule 17(c) Subpoena to
Government's Expert Witness                              The government has objected to the issuance of the
                                                         proposed subpoena to Dr. Schneck, arguing that Dr.
In his [*16] second motion, Dr. Sawhny requests          Sawhny is attempting to circumvent the discovery
the issuance of a subpoena to Michael J. Schneck,        rules, and that Dr. Sawhny's requests further fail to
M.D., "an expect witness for the [g]overnment[.]"        meet the substantive requirements set forth in
(Doc. No. 196 at 1.) The subpoena seeks from Dr.         Nixon.7 (Doc. No. 197 at 1.) The Court agrees with
Schneck the following:                                   the government on both fronts.
    1. Your file relating to Dr. Sawhny and/or the
    Indictment.                                          First, the requests contained in the proposed
    2. Communications referring, relating, or            subpoena are overly broad and/or impermissibly
    pertaining to Dr. Sawhny and/or the                  vague. For example, the first request seeks Dr.
    Indictment.                                          Schneck's entire file "relating to Dr. Sawhny and/or
    3. Documents referring, relating or pertaining       the Indictment." (Doc. No. 197-1 at 5.) A blanket
    to Dr. Sawhny and/or the Indictment.                 request for all documents in a file fails to meet the
    4. Communications with the Assistant U.S.            specificity requirement and suggests that it has
    Attorneys representing the United States in this     been issued for an improper fishing expedition. See
    matter.                                              United States v. Hills, No. 1:16-cr-329, 2018 U.S.
    5. All timesheets, invoices or other writings        Dist. LEXIS 102390, 2018 WL 3036195, at *3
    regarding time spent and expenses incurred by        (N.D. Ohio June 19, 2018) [*18] (citing, among
    you and any other person on your behalf, at          authority, United States v. Peavler, No. 3:15-cr-14,
    your request, or under your control in               2017 U.S. Dist. LEXIS 221250, 2017 WL 1018304,
    connection with your retention or rendering of       at *3 (E.D. Ky. Mar. 10, 2017)). The remaining
    any expert opinion pertaining to Dr. Sawhny          seven requests are similarly broad, seeking all
    and/or the Indictment.                               communications, documents, timesheets, and
    6. All retainer agreements, fee agreements or        retainer agreements "pertaining to Dr. Sawhny
    contracts to which you are a party in                and/or the Indictment." (Doc. No. 197 at 5-6.) "The
    connection with your retention or rendering of       fact that the subpoena is crafted to encompass such
    any expert opinion pertaining to Dr. Sawhny          a broad swath of items indicates that the subpoena
    and/or the Indictment.                               was intended as a discovery device rather than as a
                                                         mechanism for obtaining specific admissible
    7. A list of all cases in which you have testified   evidence." Barnes, 2008 U.S. Dist. LEXIS 125298,
    as an expert witness at trial or deposition,         2008 WL 9359654, at *4.
    identification of the legal counsel or the client
    that retained your services, and a [*17]             The requests also seek certain information that is
    summary or other writing reflecting your prior       either available through the rules governing
    expert testimony.                                    criminal discovery or is strictly limited by those
    8. All Documents reflecting non-privileged           same rules. Expert disclosures are governed by
    Communications between you and any person            Rule 16. The purpose of the disclosures, in part, is
    or entity other than the Assistant U.S.              to provide the defendant with a "fair opportunity to
    Attorneys representing the United States
    regarding Dr. Sawhny and/or the Indictment           7
                                                          Unlike the subpoenas requested in the first motion, the proposed
    that you considered or relied upon in
                                                         subpoena to Dr. Schneck does meet the technical requirements of
    connection with your retention or the rendering      requesting production at the courthouse and on a date and at a time
    of any expert opinion.                               related to a hearing in this matter; here, the production is to take
                                                         place at the final pretrial conference. (See Doc. No. 196-1 at 2.)
       Case 2:23-mc-51499-MFL ECF No. 1-3, PageID.44 Filed 10/13/23 Page 8 of 9
                                                                                                               Page 8 of 9
                              United States v. Raheja, 2022 U.S. Dist. LEXIS 129060

test the merit of the expert's testimony through      to identify all of the articles regarding pain
focused cross-examination." United States v.          management that he relied upon in forming his
Vasquez, 258 F.R.D. 68, 74 (E.D.N.Y. 2009). In        opinions. (Doc. No. 198 at 2.) While Dr. Schneck
pertinent part, Rule 16 provides that, at the         specifically identified four articles relating to pain
defendant's request, the government must provide      management upon which he relied, and these
the following disclosures for each expert witness:    articles were provided by the government, Dr.
                                                      Sawhny surmises that Dr. Schneck must have relied
    a complete statement of all opinions that the on other articles [*20] that were not mentioned or
    government will elicit from the witness in its otherwise provided in discovery. (Id.) He also
    case-in-chief, or during its rebuttal to counter complains that the report does not adequately
    testimony that the defendant has timely explain why Dr. Schneck was only provided with
    disclosed under (b)(1)(C); the bases and the medical charts of three of the ninety patients at
    reasons for them; the witness's qualifications, issue in this case. (Id. at 3.) He believes that the
    including a list of all publications authored in requests sought in the Rule 17(c) subpoena—
    the previous 10 years; and a list of all other including his request for all non-privileged
    cases in which, during the previous 4 years, the communications between the government's
    witness has testified as an expert at trial or by attorneys and the expert—"will fill in the . . . gaps"
    deposition.                                       of the government's expert discovery.8 (Id.)

Fed. R. Crim. P. 16(a)(1)(G)(iii). Here, Request         By his own admissions, Dr. Sawhny's Rule 17(c)
No. 7 seeks a list of all cases in which he has          requests to Dr. Schneck are designed to expand
testified as an expert witness and a summary of any      expert discovery beyond that to which he is entitled
such prior expert testimony. (Doc. No. 196-1 at          under Rule 16. "Congress did not intend 'by Rule 16
5.) [*19] But much of this information is available      to give a limited right of discovery, and then by
through Rule 16. See Fed. R. Crim. P.                    Rule 17 to give a right of discovery in the broadest
16(a)(1)(G)(iii). Because the information is             terms.'" United States v. Ellis, No. 19-369, 2021
available through the discovery rules, the request       U.S. Dist. LEXIS 11020, 2021 WL 210489, at *4
contravenes Nixon's requirement that the                 (W.D. Pa. Jan. 21, 2021) (quoting Bowman Dairy
subpoenaed materials not be otherwise procurable         v. United States, 341 U.S. 214, 220, 71 S. Ct. 675,
in advance of trial by the exercise of due diligence.    95 L. Ed. 879 (1951)). By seeking an extensive list
See United States v. Bergstein, No. 16-cr-746, 2017      of documents and information to which he is not
U.S. Dist. LEXIS 214077, 2017 WL 6887596, at *5          entitled under Rule 16—including internal
(S.D.N.Y. Dec. 28, 2017) (collecting cases and           communications, timesheets, and invoices—it is
applying Nixon, 418 U.S. at 699-700).                    clear that the present subpoena is being used to
                                                         expand the scope of expert discovery beyond that
In its response brief, the government represents that
                                                         supported by Rule 16. It, therefore, represents an
it has provided Dr. Sawhny with Rule 16 expert
                                                         abuse of the Court's subpoena power, and Dr.
disclosures, including the March 2020 expert report
                                                         Sawhny's second motion is denied for this
and CV of Dr. Schneck, and all of the materials
                                                         additional reason.
upon which Dr. Schneck based his conclusions.
(Doc. No. 197 at 1-2 & n.1.) Dr. Sawhny does not
suggest that the government has failed to meet its       8
                                                           Additionally, according to Dr. Sawhny, the requested timesheets,
disclosure obligations under Rule 16. Instead, he        invoices, and fee agreements are necessary because "[t]he time Dr.
complains that the March 2020 report fails to            Schreck spent formulating his opinions, generating the report, the fee
                                                         agreements, and Dr. Schneck's prior experience as a testifying expert
identify the source of "general observations about       (requests five through seven) will provide information as to the
Nuedexta" that Dr. Schneck made, and that it fails       quality and integrity of the Government's sole testifying expert
                                                         witness." (Doc. No. 198 at 4.)
        Case 2:23-mc-51499-MFL ECF No. 1-3, PageID.45 Filed 10/13/23 Page 9 of 9
                                                                                    Page 9 of 9
                            United States v. Raheja, 2022 U.S. Dist. LEXIS 129060


III. CONCLUSION [*21]

For the foregoing reasons, Dr. Sawhny's motions
for Rule 17(c) subpoenas (Doc. Nos. 192, 196) are
DENIED.

IT IS SO ORDERED.

Dated: July 20, 2022

/s/ Sara Lioi

HONORABLE SARA LIOI

UNITED STATES DISTRICT JUDGE


  End of Document
